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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTOPHER J. HADNAGY,
 individually and on behalf of
 SOCIAL-ENGINEER, LLC,
                                               No. 2:22-cv-03060-WB
              Plaintiffs,

       v.

 JEFF MOSS, and
 DEF CON COMMUNICATIONS,
 INC.,

              Defendants.


                                        ORDER
      AND NOW, this __ day of _______, 2022, upon consideration of Defendants’

Motion to Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim and any

response thereto, IT IS ORDERED that the Motion is GRANTED and Plaintiffs’

Complaint is DISMISSED with prejudice.

                                         BY THE COURT:


                                         _______________________________
                                         WENDY BEETLESTONE, J.
